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Exhibit 4
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Kathryn Diemer

From: Griffith, Greer <Ggriffith@mwe.com>
Sent: Friday, September 8, 2023 10:39 AM
To: Kathryn Diemer; Evans, Joseph
Subject: RE: Alec Gorge

Dear Ms. Diemer,

Thank you for your response. Before scheduling a deposition date, we will need Mr. Gorge to respond to the document
requests and interrogatories. We would accept September 20 as a compliance date. Please confirm that Mr. Gorge will
voluntarily comply by that date. After the document production and sworn interrogatory responses are received, we
can discuss and negotiate a deposition date and the method for the deposition.

Thank you,
Greer

GREER GRIFFITH

Partner

McDermott Will & Emery LLP One Vanderbilt Avenue, New York, NY 10047-3852
Tel +1 212547 5578 Mobile +12159131418 Email goriffith@mwe.com
Biography | Website | vCard j Twitter | LinkedIn

From: Kathryn Diemer <kdiemer@diemerwei.com>

Sent: Thursday, September 7, 2023 7:24 PM

To: Evans, Joseph ibevans@mwe.com>; Griffith, Greer <Ggriffith@mwe.com>
Subject: RE: Alec Gorge

| You don't often get email from kdiemer@ diemerwei.com. Learn why this is important

Dear Mr. Evans and Ms. Griffith:

| have spoken with Mr. Gorge and he is willing to stipulate to an agreed upon date for the 2004 examination, In order to
provide your firm sufficient time to provide us a stipulated order to review, obtain the 2004 order, and to allow Mr.
Gorge sufficient time to thoroughly review his records and provide any responsive documents, I have cleared the
following dates for both my calendar and that of Mr. Gorge: October 30, October 31, November 1, November 14 —
November 23, 2023. As Mr. Gorge lives here in California, the 2004 examination will need to take place either by zoom,
or here in Northern California. We are happy to offer you the use of our conference room if you intend to have the
examination conducted in person. If you intend an in person examination, and do not feel comfortable having it in our
offices, our building has independent conference rooms, not allied with our firm, down on the lower floors.

Please copy me on any submissions to the Court concerning this matter.

Please let me know if you have any questions.

Sincerely,
